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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,

                           Plaintiff,

                vs.                                          CASE NO.: 2:11-CR-010 (3)
                                                             JUDGE SMITH
                                                             MAGISTRATE JUDGE KING
ROBERT DOUCETTE,

                           Defendant.


                                             ORDER

        On April 6, 2011, the Magistrate Judge issued a Report and Recommendation pursuant to 28

U.S.C. § 636(b)(1), recommending that the Court accept Defendant Doucette’s guilty plea to Counts

One and Four of the Indictment charging him with conspiracy to transport stolen goods in violation

of 18 U.S.C. §371, and interstate transportation of stolen property in violation of 18 U.S.C. §2314.

Defendant, represented by counsel, waived his right to appear on the matter before a District Judge.

The Magistrate Judge conducted the colloquy required by Rule 11 of the Federal Rules of Criminal

Procedure. Defendant’s plea was knowing, voluntary, free from coercion, and had a basis in fact.

        Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
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       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to Counts One and Four of the Indictment. Defendant is hereby adjudged

guilty of conspiracy to transport stolen goods and transportation of stolen property.



               IT IS SO ORDERED.


                                                      /s/ George C. Smith
                                                      GEORGE C. SMITH, JUDGE
                                                      UNITED STATES DISTRICT COURT




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